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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 ANSLY DAMUS, et al.,

       Plaintiffs,
               v.                                        Civil Action No. 18-578 (JEB)
 KIRSTJEN NIELSEN, Secretary of the
 Department of Homeland Security, et al.,

       Defendants.




                                           ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

   1. Plaintiffs’ Motion for a Preliminary Injunction is GRANTED;

   2. Plaintiffs’ Motion for Class Certification, dated March 20, 2018 (ECF No. 11), is

      GRANTED on a provisional basis for purposes of this preliminary injunction, and

      Plaintiffs’ counsel are appointed as Class Counsel;

   3. Defendants are hereby ENJOINED from denying parole to any provisional class

      members absent an individualized determination, through the parole process, that such

      provisional class member presents a flight risk or a danger to the community;

   4. The individualized determinations of flight risk and danger to the community referenced

      above shall be based on the specific facts of each provisional class member’s case. Such

      determinations, moreover, shall not be based on categorical criteria applicable to all

      provisional class members;
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   5. Defendants shall provide provisional class members with parole determinations that

      conform to all of the substantive and procedural requirements of U.S. Immigration and

      Customs Enforcement, Directive No. 11002.1, Parole of Arriving Aliens Found to Have a

      Credible Fear of Persecution or Torture (Dec. 8, 2009);

   6. Within seven days of this Order, the parties will meet and confer to develop a notice that

      explains the requirements of this Order and provides class members with contact

      information for Class Counsel; and

   7. The parties shall appear for a status conference to discuss further proceedings in the case

      on July 10, 2018, at 11:30 a.m. in Courtroom 25.

   IT IS SO ORDERED.

                                                    /s/ James E. Boasberg
                                                    JAMES E. BOASBERG
                                                    United States District Judge
Date: July 2, 2018
